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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                                   Plaintiff,

               v.                                                                Civil No. 18-4060

BRENT M. PAULIE and DOROTHY D. PAULIE,

                                   Defendants.


                                                COMPLAINT

        COMES NOW the United States of America, by Stephen R. McAllister, United States

Attorney for the District of Kansas, and Luke P. Sinclair, Assistant United States Attorney, and

for its cause of action alleges:

        1.      This is a civil action for foreclosure of a Mortgage brought by the United States of

America under the provisions of 28 U.S.C. § 1345.

        2.      Service may be made upon Defendants in the following manner:

                a.      Defendant Brent M. Paulie may be served by delivering a copy of the

                        Summons and Complaint to him at 718 Lincoln, St. Paul, Kansas 66771,

                        within the jurisdiction of this Court.

                b.      Defendant Dorothy D. Paulie may be served by delivering a copy of the

                        Summons and Complaint to her at 323 Walnut Street N, Erie, Kansas 67733,

                        within the jurisdiction of this Court.

        3.      Defendant Dorothy D. Paulie executed and delivered to Plaintiff, acting through the

Rural Housing Service, United States Department of Agriculture, a promissory note on October

15, 2007, in which she promised to pay Plaintiff the principal amount of $91,100.00, together with
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interest thereon at the rate of 6.0000 percent (6.0000%) per annum on the unpaid balance. As

consideration for this note, Plaintiff made a Rural Housing loan to Defendant Dorothy D. Paulie,

pursuant to the provisions of Title V of the Housing Act of 1949 (42 U.S.C. § 1471, et seq.). A

true and correct copy of the Promissory Note is attached as Exhibit A.

       4.      To secure the payment of the indebtedness, Defendant Dorothy D. Paulie did, on

October 15, 2007, execute and deliver a purchase-money security interest in the form of a real

estate mortgage upon certain real estate located in Neosho County, Kansas, within the jurisdiction

of this Court, described as follows:

               Lots Nine (9), Eleven (11) and the West 161 feet of Lot Thirteen
               (13), in Block Two (2), Original Town of Mission, now City of St.
               Paul, Neosho County, Kansas.

The real estate mortgage was filed for record on October 19, 2007, in the office of the Register of

Deeds of Neosho County, Kansas, in No. 7355 Book 395 at Pages 642-647. A true and correct

copy of the Mortgage is attached as Exhibit B.

       5.      On or about May 1, 2013, Defendant Brent M. Paulie executed and delivered to

Plaintiff, acting through the Rural Housing Service, United States Department of Agriculture, an

assumption agreement wherein Defendant Brent M. Paulie agreed to assume the entire unpaid

indebtedness under the promissory note and real estate mortgage described above. Defendant Brent

M. Paulie agreed that the provisions of the promissory note and real estate mortgage would remain

in full force and effect, except as modified in the assumption agreement. Defendant Brent M.

Paulie further agreed to assume the obligations and be bound by and comply with all covenants,

agreements and conditions contained in the promissory note and real estate mortgage, except as

modified in the assumption agreement, as if Defendant Brent M. Paulie had executed them on the




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original dates of the documents as principal obligor. A true and correct copy of the assumption

agreement is attached as Exhibit C.

       6.      Pursuant to the Housing Act of 1949, as amended, 42 U.S.C. § 1490a, and the

implementing regulations, 7 C.F.R. § 3550.162, the Real Estate Mortgage also secures the

recapture of interest credit or subsidy granted to Defendants Brent M. Paulie and Dorothy D.

Paulie. The total amount of interest credit or subsidy subject to recapture is $13,068.48, such

amount to be recovered in rem only, and only after recovery of the principal (including advances

and other recoverable costs) and accrued interest through the date of any judgment. The Interest

Credit Subsidy Repayment Agreement, executed on October 15, 2007 by Defendant Dorothy D.

Paulie, and subsequently executed by Defendant Brent M. Paulie on May 1, 2013, is attached as

Exhibit D.

       7.      Plaintiff is the owner and holder of the liability and security documents as set out

above, attached as Exhibits A-D.

       8.      Defendant Brent M. Paulie failed to pay Plaintiff installments of principal and

interest when due in violation of the provisions of the liability and security documents set out

above. Plaintiff has elected to exercise its option to declare the entire unpaid principal balance plus

interest to be immediately due and payable and has made demand for these amounts. No payment

has been received.

       9.      The amount due on the promissory note and mortgage is principal in the amount of

$81,049.59 (including unpaid principal of $78,620.91, agency title report fees of $300.00, escrow

fees of $2,062.17, and late fees of $66.51) as of May 9, 2018; plus interest in the amount of

$11,008.24 (including interest on principal of $10,985.34 and interest on advances of $22.90)

accrued to May 9, 2018; plus interest accruing thereafter at the daily rate of $12.9733 (including



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daily interest on principal of $12.9240 and daily interest on advances of $0.0493) to the date of

judgment; plus administrative costs pursuant to the promissory note and mortgage; plus filing fees

in the amount of $400.00 allowed pursuant to 28 U.S.C. § 2412(a)(2); plus interest thereafter at

the rate set forth in 28 U.S.C. § 1961; plus court costs and the costs of this action presently and in

the future incurred.

        10.      There is also due and owing, in rem, the amount of $13,068.48 for interest credit or

subsidy subject to recapture; plus interest after the date of judgment at the rate set forth in 28

U.S.C. § 1961; and foreclosure of all Defendants' interests in the subject real estate.

        11.      No other action has been brought for recovery of these sums and no payment has

been received.

        12.      Plaintiff has completed all loan servicing requirements of Title V of the Housing

Act of 1949, 42 U.S.C. § 1471, et seq.

        13.      Defendant Dorothy D. Paulie may claim an interest in the real estate that is the

subject of this action as a signatory to the real estate mortgage referenced above, and also pursuant

to a judgment entered on her behalf in Case No. 06-DM-101 filed in the District Court of Neosho

County, Kansas.

        14.      The indebtedness due Plaintiff by Defendant Brent M. Paulie is a first and prior lien

on the property described above.

        15.      The interests of Defendants are junior and inferior to the interests of Plaintiff United

States of America.

        16.      Less than one-third (1/3) of the original indebtedness secured by the mortgage was

paid prior to default.




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       WHEREFORE, Plaintiff demands in personam judgment against Defendant Brent M.

Paulie in the sum of principal in the amount of $81,049.59 (including unpaid principal of

$78,620.91, agency title report fees of $300.00, escrow fees of $2,062.17, and late fees of $66.51)

as of May 9, 2018; plus interest in the amount of $11,008.24 (including interest on principal of

$10,985.34 and interest on advances of $22.90) accrued to May 9, 2018; plus interest accruing

thereafter at the daily rate of $12.9733 (including daily interest on principal of $12.9240 and daily

interest on advances of $0.0493) to the date of judgment; plus administrative costs pursuant to the

promissory note and mortgage; plus filing fees in the amount of $400.00 allowed pursuant to 28

U.S.C. § 2412(a)(2); plus interest thereafter at the rate set forth in 28 U.S.C. § 1961; plus court

costs and the costs of this action presently and in the future incurred.

       Plaintiff also demands foreclosure of all Defendants' interests in the subject real estate.

       Plaintiff further demands in rem judgment in the amount of $13,068.48 for interest credit

or subsidy subject to recapture; plus interest after the date of judgment at the rate set forth in 28

U.S.C. § 1961.

       Plaintiff further demands that its Mortgage be declared a first and prior lien on the real

estate described herein and that such advances as Plaintiff may be authorized and required to pay

for insurance premiums, real estate taxes, title fees, or other costs necessary to protect the security

during the pendency of this proceeding be allowed as a first and prior lien on the security.

       Plaintiff further demands that the United States of America be granted judgment

foreclosing its mortgage on the subject real property and the interests of all Defendants.

       Plaintiff further demands that the judgment granted the United States of America in the

Order and Judgment is the final judgment of this Court.




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       Plaintiff further demands that all legal right, title and interest which Defendants have in the

real estate be foreclosed, and the real estate be sold at public sale, in accordance with 28 U.S.C.

§§ 2001-2003, inclusive, subject to a redemption period not to exceed three (3) months, pursuant

to the provisions of K.S.A. § 60-2414(m), and that the sale be subject to any unpaid real estate

taxes, special assessments and easements of record.

       Plaintiff further demands that it may bid up to the full amount due it at the time of the sale

without paying funds into the Court, which bid shall satisfy the requirement for a cash sale, and

that the sale proceeds be applied in the following order:

               (1)     Filing fees in the amount of $400.00 allowed pursuant to 28 U.S.C.
                       § 2412(a)(2);

               (2)     The costs of this action and the foreclosure sale;

               (3)     The interest accruing on Plaintiff=s in personam judgment against
                       Defendant Brent M. Paulie and in rem judgment against Defendant
                       Dorothy D. Paulie;

               (4)     Plaintiff=s in personam judgment against Defendant Brent M. Paulie
                       and in rem judgment against Defendant Dorothy D. Paulie;

               (5)     The interest accruing on Plaintiff’s in rem judgment for interest
                       credit or subsidy subject to recapture;

               (6)     Plaintiff’s in rem judgment for interest credit or subsidy subject to
                       recapture; and,

               (7)     Any remaining balance should be held by the Clerk of the District
                       Court to await the Court’s further order.

       Further, Plaintiff prays that, in the event the judgment is not wholly satisfied out of the

proceeds of the sale, Plaintiff shall have judgment against Defendant Brent M. Paulie for any

deficiency that exists after crediting the proceeds together with interest at the legal judgment rate.

Plaintiff further demands that all right, title, and interest in and to the real estate of Defendants,




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and of all persons claiming by, through or under them be decreed to be junior and inferior to

Plaintiff's Mortgage and be absolutely barred and foreclosed.

       Plaintiff further prays that, if the grantee named in the United States Marshal’s Deed, or

the grantee’s assigns, are denied possession of the real property, a Writ of Assistance issue out of

this Court to the United States Marshal for the District of Kansas, upon application of the grantee

or assigns, ordering and directing the United States Marshal to place the grantee or assign, in full,

complete, and peaceful possession of the real property.

                                                      Respectfully submitted,

                                                      STEPHEN R. MCALLISTER
                                                      United States Attorney
                                                      District of Kansas

                                                      s/ Luke P. Sinclair
                                                      LUKE P. SINCLAIR
                                                      Assistant United States Attorney
                                                      Ks. S.Ct. No. 23709
                                                      290 Federal Bldg.
                                                      444 SE Quincy Street
                                                      Topeka, Kansas 66683
                                                      PH: (785) 295-2850
                                                      FX: (785) 295-2853
                                                      Email: luke.sinclair@usdoj.gov
                                                      Attorneys for Plaintiff


                               REQUEST FOR PLACE OF TRIAL

       The United States of America hereby requests that trial of the above-entitled matter be held

in the City of Topeka, Kansas.

                                                      s/ Luke P. Sinclair
                                                      LUKE P. SINCLAIR
                                                      Assistant United States Attorney




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           Fonn RD 1940-16                                                                                                                              Form Approved
           (Rev. 7-06)                                                                                                                                  0MB No. 0676-017i
                                                                   UNITED STATES DEPARTMENT OF AGRICULTURE
                                                                            RURAL HOUSING SERVICE


                                                                                  PROMISSORY NOTE
            Type of Loan             SECTION 502                                                                                                        SATISFIED
                                                                                                                                     This _ _ day of              ,20 _ _.
             Loan No.                                                                                                                United States of America
                                                                                                                                     B~: - - - - - - - - - - -
                                                                                                                                     Tltfe-:
            Date:                  10/1s              20_0_7_ __
                                                                                                                                     USDA, Rural Housing Services
             718 Lincoln
                                                                                      (Property Address)
             Saint Paul·                                                            ,Neosho                                   _.K_S_..,.---,-----
                                     (Clty or Town)                                                (County)                            (State)

           BORROWER'S PROMISE TO PAY. In return for a loan that I have received, I promise to pay to the order of the United
           States of Amerlpa, acting through the Rural Housing Service (and its successors) ("Government")$ 91,100, oo. ,
           (this amount Is called "principal"), plus interest.
           INTEREST.. Interest will be charged on the unpaid principal until the full amount of the principal has been paid. I wlll pay
           Interest at a yearly rate of         6       %. the interest rate required by this section is the rate I will pay both before
           a.nd after any default described below.                                                                                       ~·
            PAYMENTS. i agree to pay principal and Interest using one of two alternatives Indicated below:A                                                                                <>·
                               .           .                          ·                                    .                     .     .                 p n \ \'O, ::lv9D'6
                I. Principal and interest payments shall be temporarily deferred. The Interest accrued to      0:r::1 , ,ber7ii-5 , .2.0:fi:l:L
            shall be added to the principal'. The new 'principal and later accrued .interest shall be payable 1~4-4-0 3#tg.ular amortized
            installments on the date in,Qicated In the box below. I authorize the Government to enter the amount of such new principal
                           q
            here: $ · JI qo~. 'i ! 'Q'ii and the amount of such regular installments In the box below when such amounts have been
            determined. I agree to pay principal and Interest In Installments as indicated In the box below.

              II. Payments shall not be deferred. I agree to pay principal and Interest in                                       ~5~        <l~installments as Indicated In .
           the box below.
           I wlll pay principal and interest by makin9t.8 payp;ient every month.        .          ·       M~~ 10 'Q~-                              ·
           I will make my monthl~payment on the ~h~'\<aay of each month beginning on                    NQu1oltlsCL 'TS                , 2000 and
           continuing for ~3S ~riths. I will make these payments every month until I have paid all of the principal and interest
           and any other charges ascribed below that I rnay owe under this note. My monthly payments w)JI be applied to Interest
           before principal. If on October 1s , 2037 , I stlll owe amounts under this note, I will pay those amounts in full on
           that date, which Is called the "maturity date."
           My monthly paym·ent will be $      S SY.. 3 l,                    :\IR,.
                                                                  I will make my monthly payment at ~.s....,,..,.,.........-'-"u......,_.,.._...,...,_...._..=--~
           noted pn my bi 11 ing statement                              ·          or a different p/ace If required by the Government.

           PRINCIPAL ADVANCES. If the entire princ[pal amount of.the loan is not advanced at the time of loan closing, the
           unadvanced balance of the loan will be advanced at my request provided the Government agrees to the advance. The
           Government must make the advance provided the advance Is requested for an authorized pUrJ'.!ose. Interest shall
           accrue on the amount of each advance beginning on the date of the advance as shown In the Record of Advances,
           below. I authorize the Government to enter the amount and date of the advance as shown In the Record of Advances
           below. I authorize the Government to e.nter the amount and date of such advance on the Record of Advances .

           .HOUSING ACT OF 1949. This promissory note Is made pursuant to title V of the Housing Act of 1949. It Is for the type
           of loan Indicated In the "Type of Loan" block at the top of this note. This note shall be_ subj~ct to the present regulations
           of the Government and to its future regulations not inconsistent with the express provision~ of this note.

        According to the Papetwork Reduction Act of 1995, no persons are required to respon~ to a collection of infonnation unless it displays a valid 0MB control
        number. The valid 0MB control number for this infonnatjon collection is 0575-0172. The time required to complete this. infonnation collection is estimated to
        average 15 minutes per response, including the time for reviewing instructions, searching existing data sources; gathering and maintaining the data needed, and
        completing and reviewing ·the collection of infonnation.                                                          ·




                                                                                                                                                         Exhibit A
---·~·-·---v____________ .,___,.,.,..,_ .. __,...,.,•••••••··----••-••,,....---·-•-, ... ...-.-•••,•-~•--.•••-'•~·----••••..•--•~----•.. -·•••-•,•--,•-•-·•~-••·-••••-·-••- ,·---~--•-•·--·-•-•-•---·-"•"
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                                                                                                                                                         Accoup.t        #

            LATE CHARGES. If the .Government has not received the full amount of any monthly payment by the end of 1s days
            after the date it Is due, I will pay a late charge. The amount of the charge will be        4      · percent of my overdue
            payment of principal and Interest. I will pay this charge promptly, but only once for each late payment.

            BORROWER'S BIGHT TO PREPAY. I have the right to make payments of principal at any time before they are due.
            A P.ayment-of principal only Is known as a "prepayment." When I make a prepayment, I will tell the Government In
            writing that I am making a prepayment.

            I may make a full prepayment or partial prepayment without paying any prepayment charge. The Government will use
            all of my prepayments to reduce the amount of principal that I owe under this Note. If I make a partial prepayment, there
            will be no ch·anges In the due date or in the amount of my monthly payment unless the Government agrees In writing to
            those changes. Prepayments will be applied to my loan In accordance with the Government's regulations and
            accounting procedures In effect on the date of receipt of the payment.
            ASSIGNMENT OF NOTE. I understand and agree that the Government may at any time assign this note without my
            consent. If the Government assigns the note I will make my payments \o the assignee of the note and In such case
            the term "Government" will mean the assignee.

            CREDIT ELSEWHERE CERTIFICATION. I certify to the Government that I am unable to obtain sufficient credit
            from other sources at reasonable rates and terms for the purposes for which the Gqvernment Is giving me this loan.

            USE CERTIFICATION. I certify to the Government that the funds I am borrowing from the Government will only be
            used for purposes authorized by the Government.                                          ·

            LEASE OR SALE OF PROPERTY. If the property constructed, Improved, purchased, or refinanced with this loan Is (1)
            leased or rented with an option to purchase, (2) leased or rented without option to purchase·for 3 years or longer, or (3)
            Is sold or title Is otherwise co'nveyed, voluntarily or involuntarily, the Government may at its option declare the entire
            remalhlng unpaid balance of the loan immediately due and payable. If this happens, I will have to immediately pay off
            the entire loan.

            R.EQUIREMENT TO REFINANCE WITH PRIVATE CREDIT. I agree to perlodlcally provide the Government with
            Information the Government requests about my financial situation. If the Government determines that I can get a loan
            from a responsible cooperative or private credit source, sµch as a bank or a credit unlori, at reasonable rates and terms
            for sin)ilar purposes as this loan, at the Government's request, I will apply for and accept a loan In a sufficient amount to
            pay this note. In full. This requirement does not apply to any cosigner who signed this note pursuant to section 502 of the
            Housing Act of 1949 to compensate for my lack ofrepayment ability.
           SUBSIDY REPAYMENT AGREEMENT. I agree to the repayment (recaptµre) of subsidy granted in the form of
           payment assistance under t(:le Government's regulations.

            CREDIT SALE TO NONPROGRAM BORROWER. The provisions of the paragraphs entitled "Credit Elsewhere
            Certification" and "Requirement to Refinance with Private Credit" do not apply If this loan is classified as a
            non program loan pursuant to section 502 of the Housing Act of 1949.

           DEFAULT. If I do not pay the full amount of each monthly payment on the date It Is due, I will be In default. If I am In
           default the Government may send me a written notice telling me that if I do not pay the overdue amount by a certain date,
           the Government may require me to Immediately pay the full amount of the unpaid principal, all the Interest that I owe, and
           any late charges. Interest will continue to accrue on past due principal and interest. Even if, at a time when I am in ·
           default, the Government does not require me to pay Immediately as describep In the preceding sentence, the Government
           will still have the right to do so if I am In default at a later date. If the Government has required me to immediately pay in
           full as described above, the Government will have the right to be paid back by me for all of Its costs and expenses in
           enforcing this promissory n·ote to the extent not prohibited by applicable law. Those.expenses Include, for example,
           reasonable·attorney's fee~.




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-·--»··-.--.•·-·-.,...·-· . -·-·"----'--.-.--.. -·~-----·-·--·-----·--··------····.......--·~-.. --·--·, -·---···-----·--~·------· . ·····-.------·. -·.---,---·-··----.....---··- .... -----.-------·- .....
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    ·'                                                                                                     Account#

     NOTICES. Unless applicable law requires a different method, any notice that must be given to me under this note .will be
     given by delivering it or by mailing It by first class mail to me at the property address listed above or at a different address If
     I give the Government a notice of my different address. Any notice that must be given to the Government will be given by
     malling It by first class mall to the Government at USDA Rural Housing service, c/ o Customer Service Branch ·
         Post office Box 66889.                st.     Louis. MO 63166         ,oratadl~erentaddresslflamglvenanotlceofthat
    different address.

    OBLIGATIONS OF PE:RSONS UNDER THIS NOTE. If more than one person signs this note, each person Is fully and
    personally obligated to keep all of the promises made In this note, including the promise to pay the full amount owed.
                            Is
    Any person who a guarantor, surety, or endorser of this note is also obligated to do these things. The Government
    may enforce its rights under this note against each person individually or against all of us together. This means that any
    one of us may be required to pay all of the amounts owed under this note. The term "Borrower" shall refer to each
    person signing this note.

    WAIVERS. I and any other person who has obligations under this note waive the rights of presentment and notice of
    dishonor. "Presentment" means the right to require the Government to demand payment ·of amourts due. "Notice of
    dishonor" means
                 . the right to require the Government to give.notice to other persons that amounts due have not been
                                                                                                                 . paid.
  WARNING: Failure to fully disclose accurate and truthful financial information in connection with my loan
  application may result in the termination of program asslsta.nce currently being received, and the denial of
  f1.1ture federal assistance under the Department of Agriculture's Debarment regulations,· 7 C.F.R. part 3017,


· " \ : ) ~ '.Q.                      Y<:i,+~--  Seal
                           B~rrower Dorothy D Paulie
                                                                         - - - - - - - - - - - - - - - Seal
                                                                                    Borrower

  _ _ _ _..;.__ _ _ _ _ _ _ _ _ _ Seal
                                                                         - - - - - - - - , - - - - - - - - Seal.
                           Borrower                                                  Borrower




 I                                    ,,                  RECORD OF ADVANCES                                                          I
           AMOUNT                          DATE                 AMOUNT        DATE             AMOUNT                   DATE
l.(U!J5.000.00                     10-\'5-07               (8) $                         1(15) $
L.c.ru... ~le>,., 0. .4!.,i. t,~    fl .. LI.. •O 't      (9)  $                         1(16) $
 (3\ $                                                   (10 )$                          1(17) $
 (4) $                                                   (11) $                          108) $
 (5) ~                                                   (12) $                           (19) $
 (6) $                                                   (13) $                           (20) $
 (7) $                                                   (14) $                           (21) $

I                                                                                       TOTAL      $      qJ, ·I D0,00               I




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                                                        No. 7365 Book 395 Page(s): 642 • 647
                                                        STATE OF KANSAS, NEOSHO COUNTY, SS
                                                                                RECORDED
                                                               Oct 19, 2007 9:05 AM Fees $28.00

                                                                 Glenda K. Taylor, Register of Deeds



                                                                                (IP•" Mo,, 111, ~,.. For Rccot<ll•J 0,1,1
  Porm RD 3550·14 KS                                                                                                                                    Form Approved
  (9--00)                                                                                                                                               OMD No, 0S7S•0l72
                                                                 United States Department of Agriculture
                                                                  ·      Rural Housing Service :
                                                                MORTGAGE FOR KA~$AS
 THIS MORTGAGE (11Seourity-rnstrument") is made on October 15, 2007                                                                                                     •   (Oatcl
 The mortgagor Is . Dorothy D, Paulie, a: single pe-rs6n                                                                                                            .
                                            .                                                ·                    ("Borrower"),
 This Socurity Instrument Is glvon to the United S!fltos of America acting through the Rural Housing Service or successor ngcnoy,
 United Stat~s Dcpartme11t of Agriculture ("Lende1"), whose address is Rural Housing Servl<:e, c/o Centralized Servicing Center,
 United States Department of Agrfculture, P.O. Box 66889,, St, Louis, Missouri 63166.
  Borrower Is Indebted to Lender under the Collowlng promissory notes and/or assumption agreements (herein ooflectlvely cnllod
 ''Note") which have been exeouted or assumed by Borrower and which provide 'for mo11thly payments, with the full debt, If not
 paid earlier, due and payable on tho maturity date:                          ·                       ·
 Date of Instrument                                          Prlnofpal Amount                                               :Maturity Dato
'10/15/2007                                               $91,100.00                                                    10/15/2037

 This Security Instrument secures to Lender: (a) the repayment of the debt evidenced by the Note, with Interest, and a.11 renewals,
 extensions nnd modifications of the Noto: (b) the payment ofnll other sums, with Interest, advanced under par11graph 7 to protect
 the pr.operty covered by thl~ Security lllstrument; .(c) the performance of Borrower's covenants and agrecmonts under this
 Security Instrument and the Note, 11nd (d} the recapture of any payment assistance and subsidy which. may bo granted to the
 Bol'rower. by the Lender pursuant to 42 U.S.C. §§ 14n(g) or 1490a. for this p~rpose, Borrower does hereby mortgage, grant,
 11nd convey to LQndor the following described property located in lh~ County of. NEOSHO
                                                       ·     , Stnto ofKanBas




                       Lots Nine (9) 1 Eleven (11) and the West 161' feet of Lot Thirteen
                      (13), i.n Block.Two (2), Original Town of.Mission,. now City of St.
                       Paul, Neosho County, Kansas,




,#C()()td/11g /O /h,: l'upl!nrvrll Rei/uc/1011 Act qf 1991, 110 per.ruin /ll'f f'llqll/nil 10 mpn11d In u cn/lect/lJ/1 q/ /ilfimuut/a111ml..,;s Ii dt.rpltl))S II vu/Id OMO co11tto/ 1111111bar
 111a vQ//d 0,\111 co1#rol 111rnJ1,erJonhl.v il//1Jrma1/011 cnllwlmi /,l'i1S1S-0l"2, 'f'fle time rli(fu/rtd tu comple!nhls /Jlfur111t11/nn c1Jllec//p11 Me.Y1/111uJedJo uveiag& /$
n,/1111f1J.t P" mpqn.1'/J, h1Cl11Jlng 1/11 I/P/8 for l'lll'l8wh1g imtr11c1tmi1, searchl11g vxlstlng 1111/u suurc,.~ g111h1r/11c 1111tl x1uh1tu/11t11g 1/i, dlJ/ll 11C,deu, ru11/ co111ple1/ng 1111//
"'v/awl11g 1/11 cal/aclld/1 q/ IJ/fonnut/011,                                                                         •

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                                                                                                                                                                        ..... 642

                                                                                                                                                                   Exhibit B
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whloh has the address of   718 Lincoln                                               St, Paul
                                             (Slrcel)                                      (CllyJ

K1111ses                    [Zll')66771      ("P1·operty, Address"):
     TOGETHER WITH all the Improvements now or hereafter erected on the property1 and all easements,
appurtenances, and fixtures which now or hereafter are a part of the property. A11 replacements and ndd(tlons shall
also be covered by th [s Security Instrument. All of the foregoing ls referred to in this Security Instrument as the
"Property."
     BORROWER COVENANTS that Borrower is lnwfullr seised of the estate hereby conveyed and has the right
to grant ·and convey the Property and that the Property 1s unencumbered, except for encumbrances of reoord.
Borrower warrants and will defend generally the title to the PropetlY against all claims and demands, subject to. any
encumbrances of record.                                                                 .                      ·
   . THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants
with Hmlted variations by Jul'lsdlcti<in to constitute a uniform security instrument covering real property.
      UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
      1. Pa,y~enf of Prl~clplll .and Inte~cst; Prepayment and Late Charge5. Borrower shall promptly pay when
due the prmc1pal of and mterest on the debt evidenced by the Note and any prepayment and late charges due·under
the Note,
      2. Funds for Taxes and Insurance, Subject to applicable law or to a written waiver by Lender, Borrower
 shall pa~ to Lender on the day monthly payments are due under the Note, until the Note is paid In ful[, a sum
 ("Funds') for: (a) yearfy taxes and assessments which may attain priority over this Security Instrument ljS a lien on
 the Property;. (b) yearly leasehold payments or ground rents on the Property, Jf any; (c) yearly. hazard or property
 insurance premfums; and (d) yearly flood insurance prem[ums, if any. These ifems are called "escrow Items."
Lender may, at any time, collect and hold Funds in an amount not to exceed the maximum amount a lender for a
 federally related mortgage loan may require for Borrower's escrow account under the federal Real Estate Settlement
Procedures Act of 1974.as amended from time to time, 12 U.S.C. § 2601 et seq. ("RESPA"), unless another law or
federal regulation that applies to the Funds sets a lesser amount. If so, Lender may, at any time, collect and hold
Funds ln an amount not to exceed the lesser amount. Lender may estimate the amount of Funds due on the basis of
current data and reasonable estimates of expenditures of future Escrow Items or otherwise In accordance with
applicable law.       ·
      The Funds shall be held by a federal agency (including Lender) or in an institution whose deposits are Insured
by a federal agency, instrumentality, or entity, Lender shall apply the Funds to pay the Bscrow Items. Lender may
not charge Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying the
Escrow Items, unless Lender pays Borrnwer Interest on the Funds and applicable law pennits Lender to make such a
charge, However, Lender may require Borrower to pay a one,time charge for an Independent real estate tax
reporting service used by Lender In connection with this loan, unless applicable law provides otherwise. Unless an
agreement is made or applicable law requires Interest to be paid, Lender sha[J not be required to pay Borrower any
fnterest or earnings on the Funds, Borrower and Lender may agree in writing, however, that Interest shall be paid
on the Funds. Lender shall give to Borrower, without charge, an 11nnual accounting of the Funds, showing credits
and debits to the Funds and the purpose for whioh each debit to the Funds was made. The Funds are pledged as
additlonal security for all sums secured by this Security Instrument.                      .         ·
      If the Funds held by Lender exceed the amounts permitted to be held by applicable law, Lender shall account to
Borrower for the excess funds in accordance with the requirements of applicable law. rf the amount of the Funds
held by Lender at any time is not sufficient to pay the Escrow. Items when due, Lender may so notify Borrower in
writing, and, in such oase Borrower shall pay to Lender the amount necessary to make up the deficiency. Borrower
shall make up the defiofenoy In no more than twelve monthly payments, ut Lende1·'s sole discretion,. .
     Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to
Borrower any Funds held by Lender, If Lender shall acquire or sell the Property after acoelei'atfon under paragraph
22, Lender, prior to the acquisition or safe of the Property, shall apply any Funds held by Lender at the time of ·
acquisition or safe as a credit against the sums secured by this Security Instrument.
     3. Appllcatlon of Payments. Unless applicable law or Lenders regulations provide otherwise, all payments
received by Lender under paragraphs I and 2 shall be applied in the following order of priority: (I) to advances for
the preservation or protection of the Property or enforcement of this lien;. (2) to accrued Interest due under the Notci
                                                                                                          Page2 of6


                                                                                                          .,..    643
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    (3) to prlncipal due under the Note; (4) to amounts required for the escrow items under paragraph 2; (5) to late
    charges and other fees and charges,
          4, Charges; Liens. Borrower shall par all taxes, assessments, charges, fines and Impositions attributable to the
    Property which may attain priority over this Security Instrument, and leasehold payments or ground rents, If any.
    Borrower ghall pay these obligations in the manner provided in paragraph 2, or If not paid in that manner, Borrower
   shall pay them on lirne directly to the person owed payment. Borrower shall promptly furnish to Lender all notices
    of amounts to be paid under this paragraph. If Borrower makes these payments directly, Borrower shall promptly
    furnish to Lender receipts evidencing the pay111ents,              ·
          Borrower shall promptly discharge any llen which has priority over this Security Instrument unless Lender has
    iigreed in writing to such lien or Borrower: (a) agrees In writing to the payment of the obligation secured by the lien
    In a manner accepmblc to Lender; (b) contests In good faith the lien by, or defends against enforcement of the lien
    In, legal proceedmgs which In the Lender's opinion operate to prevennhe enforcement of the lien; or (c) secures
    from the holder of the lien an agreement satisfactory to Lender subordinating the lien to this Security lnstru111ent. If
    Lender detennines that any part of the Property is ·subject to a lien which may attain priority over this Security
   Instrument, Lender may give Borrower a notice Identifying the lien. Borrower shall satisfy the lien or take one or
   more of the actions set forth above within ten (10) days oftht> giving of notice.
          Borrower shall pay to Lender such fees and other charges as may 110w or hereafter be required by regulations
   of Lender, and pay or reimburse Lender for all of Lender's fees, costs, and expenses In connection with any full or
   partial release or subordination of this lnsti·ument or any other transaotion affecting the property. ·
         5. Hnzard or Property Insurance.. Borrower shall keep the improvements now existing or hereafter erected
   on the Property insured agnlnst loss by fire, hazards Included within the term ttextended coverage" and any otbet
   hazards, including floods or flooding, for which Lender requires Insurance. This insurance shall be maintained In
   the amounts and for the periods tha\ Lender requires. The Insurer providing the insurance shall be chosen by
    Borrower subject to Lender's approval which shall not be unreasonably withheld. [f Borrower fails to maintain
   coverage described above, at Lender's option Lender may obtain coverage to protect Lender's rights in the Property
   pursuant to paragraph 7.                                    ·
         All insurance policies and renewals shall be ln a form acceptable to Lender ·and shall include a standard
   mortgagee clause. Lender shall have the right to hold the policies and renewals. If Lender requires, Borrower shall
   promptly give to Lender all receipts of paid premiums and renewal notides, In the event of loss, Borrower shall give
   prompt notice to the insurance carrier and Lender. Lender may make proof of loss lf not made promptly by
   Borrower.
         Unless Lender and Borrower otherwise agree in writing, Insurance proceeds shal I be applied to restoration or
   repair of the Property damaged, if the restoration or repair is economically feasible and Lender's security is not
   lessened. If the restoration or repair is not economically feasible 01· Lender's security would be lessened, the
   insurance proceeds shall be applied to the sums secured by this Security Instrument, whether or not then· due, with
   any excess paid to Borrower. If Borrower abandons the Property, or does not answer within thirty (30) days a
   notice from Lender that the insurance carrier has offer!)d to settle a claim, then Lender may collect the lnsuranee
   proceeds. Lender 111ay use the proceeds to repair or rostore the Property or to pay sums secured by this Security
   Instrument, whether or 11ot then due. The thirty (30) day period will begin when the notice Is given,
         Unless Lender-and Borrower otherwise agree In writing, any application of proceeds to principal shall not
   extend or postpone the due date of the monthly payments referred to in paragraphs l and 2 or change the amount of
   the payments. If after acceleration the Property is acquired by Lender, Borrower's right to any insurance policies
   and proceeds resulting from damage to the Property pnor to the acquisition shall pass to Lender to the extent of the
  sums secured by this Security Instrument imniediately prior to the acquisition,
         6, Preservation, \Y.lalnt~nnnce, and Protection of the Property; Borrower's Lonn Applicationi
   Leaseholds, Borrower shall not destroy, damage or impair the Property, allow the Property to deteriorate, or
   commit waste on the Property. Borrower shall maintain the improvements in good repair and make repairs required
   by Lender. Borrower shall comply with all Jaws, ordinances, and regulations affecting the Property. Borrower shall
   be In default If any forfeiture action or proceeding, whether civil or criminal, is begun that in Lender's good faith
  judgment could result In forfeiture of the Property or otherwise materially impair the lien created by this Security
   Instrument or Lender's security Interest, Borrower may cure such a default -by causing the action or proceeding to
  be dismissed with a ruling that, In Lender's good faith determination, precludes forfeiture of the Bol't'owcr's interest
  in the Property or other material lmpalnnent of the lien created by this Security Instrument or Lenders security
  interest. Borrower shall also be In default If Borrower, during the loan application process, gave materially false or
  inaccurate infonnation or statements to Lender (or failed to provide Lender with· any material infonnation) in
  connection with the loan evidenced by the Noto. If this Security' Instrument is on a leasehold, B01tower shall
  comply with ·all the provisions of the lease. If Borrower acquires fee title to the Property, the leasehold and the fee
  title shall not merge unless Lender agrees to tho merger In writing.                              .
         7. Ptotection of Lender's Rights In the Property. If Borrower fails to perfonn the covenants and agreements
  contained in this Security Instrument, or there Is a legal proceeding that may signfflcantly affect Lender's rights in
  the Property (such as a proceeding irr bankruptcy, probate, for condemnation or forfeiture or to enforce· laws or
  regulations), then Lender may do and pay for whatever is necessary to protect the value of the ·Property and Lender's
. rights In the Prqperty. Lend?r's actions may include paying any sums.secured by a lien which has priority over this
  Security Instrument, appearmg In court, paying reasonable attorneys' fees and entering on the Property to make
                                                                                                                Pago3·of6
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   repalrs. Although Lender may take action under this paragraph 7, Lender Is not required to do so.
         Any amounts disbursed 6y Lender under this paragraph 7 shall become additional debt of Borrower secured by
   this Security Instrument. Unless Borrower and Lender agree to other terms of payment, these amounts shall bear
   interest from the date of disbursement at the Note rate and sh11ll be payable, with interest, ·Upon notice from Lender
   to Borrower requesting payment.                             .        .                                ,
         8. Refinancing. If at any time It shall appear to Lender that Borrower may be able to obtain a loan from a
   responsible coopel'atlve or private credit source, at reasonable rates and terms for loans for similar purposes,
   Borrower wlll, upon tho Lender's. request, apply for and accept such loan In sufficient amount to pay the npte and
  any indebtedness secured hereby m full.
         9, Inspection, Lender or its agent may make reasonable entries upon and Inspections. of the Property. Lender
  shall give Borrower notice at the time of or prior to mi inspection specifying reasonable cause for the Inspection.
         IO. Condemnation. The proceeds of any award or claim for damages, direct or consequential, in connection
   with any condemnation or other taking of any part of the Property, or for conveyance In lieu of condemnation, are
   hereby assigned ond shall be paid to Lender, In the event of a total taking of the Property, the proceeds shall be
  applied to the $Ums secuted by this' Security Instrument, whether or not then due, with an_y exoess paid to Borrower.
    In the event of a partial taking of the Property in which the fair market value of the Property immediately before the
  taking Is equal to or greater than the amount of the sums secured by this Security Instrument immediately before the
  taking, unless Borrower end Lender otherwise agree in writing, the sums secured by this Security Instrument shall
  be reduced by the amount of the proceeds multiplied by the following fraction: (a) the total amount of the sums
  secured immediately before the taking, divided by (b) the fair market value of the Property Immediately before the
  taking, Any balance shall be paid to Borrower. In the event of a partial taking of tlie Property in which the fair
  market value of the. Property immediately before the taking is less than the amount of the sums .secured hereby
  immediately before the taking, unless Borrowor and Lender otherwise agree in writing or unless applicable law
  otherwise provides, the proceeds shall be applied to the sums secured by this Seourlty Instrument whether or not th1,1
  sums are then due.                                                                 ·
        lf the Property is abandoned by Borrower, or If, after notice by Lender to Borrower that the condemnor offers
  to make an award or settle a claim for damages, Borrower fails to respond to Lender within thirty (30) days after the
  date the notice Is given, Lender Is authorized to collect and apply the proceeds, at Its option, either to restor!ltlon or
  repair of the Property or to the sums secured by this Security Instrument, whether or not then due. Unless Lender
  and Borl'ower otherwise agree In writing, any appllcntlon of proceeds to principal shall not extend or postpone the
  due date of the monthly payments referred to in paragraphs I and 2 or change the amount of.such payments.
        11, Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment or
  modltlcatlon of amortization of the sums secured by this Security Instrument granted by Lender to Borrower and
  any successor in interest ofBom;,wer shall not operate to release the liability of the original Borrower or Borrower's
  successors In interest. Lender shall not be required to commence proceedings against any successor in interest or
 refuse) to extend time for payment or otheiwise modify amortization of the sums secured by this Security Instrument
  by reason of any demand made by the original Borrower or Borrower's successors in interest. Any forbearance by
  Lender in exercising any right or remedy shall not be a wa1¥er of or preclude tile exel'cise of any right or remedy.
        12, Successors and Assigns Bound• Joint and Several l,lablllty; Co-signers. The covenants and agreements
  of this Security Instrument shall bind and benefit the successors and assigns of Lender and Borrower, subject lo the
  provisions of paragraph 16. Borrower's covenants and agreements shall be joint and several. Any Borrower who
 co-signs this Security fostrument but does not execute the Note: (a) is co-signing this Security Instrument only to
 mortgage, grant and convey that Borrower's interest In the Property under the terms of this Security Jnstrut11ent; (b)
  Is not personally obligated to pay the sums secured by this Security Instrument; and (c) agrees that L«,nder and any
 other Borrower may agree to extend, modify, forbear or make any accommodations with· regard to the tenns of this
 Security Instrume.nt or the Note without that Borrower's consent.                     ·
        13, Notices, Any notice to Borrower provided for in this Security Instrument shall be given by delivering it or .
 by malling It by first class mall unless appllcable law requites use of another method. The notice shall be directed
 to the Property Address or any other address Borrower desl~nates by notice to Lender. Any holice to Lender shall
 be.given by first class mail to Lender's address stated herein or any other address Lender designates by notice to
 Borrower. Any notice provided for in this Security rnstrument shall be deemed to have been given to Borrowe1· or
 Lender when given as provided In this paragraph.                                                 .                      ,
        14. Governing Law; Severabillty. This Secur[ty Instrument shall be governed by federal law. In the event
 that any provision or clause ofthia Security Instrument or the Note conflicts with applicable law, such conflict shall
not affect other provisions of tJtls Security Instrument or the Note wh lch can be given effect without the· confllotlng
provision. To this end the provisions of this Security Instrument and the Note are declared to be severable. This
instrument shall be subject to the present regulations of Lender, and to its future regulations not inconsistent with
the express provisions hereof. All powers and agencies granted in this Instrument are coupled with an interest and
al'e irrevocable oy death or otherwise; and the rights and remedies provided in this instrument are cumulative to
 remedies provided by law.
-       15, Borrower's Copy. Borrower acknowledges receipt of one conformed copy of the Note and of this
 Security Instrument.                           .
        16. Transfer of the Property Ok' ft Beneficial Interest In Borrower. If all or any part of the Property or any
 interest in it Is leased for a term greater than three (3) yearn, leased wlth an option to purchase, sold, or transferred
                                                                                                              Page4 of6


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  (or if a beneficial interest in Borrower Is sold or transferred and Borrower is not a natu1·al person) without Lender's
   prlot written consent, Lender may, at its option, require immediate payment in full of all sums secured by this
   Security Instrument,
         17, Nondiscrimination, If B01rower intends to sell or rent the Property or any part of It and has obtained
   Lender's consent to do so (a} neither Borrower nor anyone authorized to act for Borrower, WIii refuse to negotiate
   for the sale or rental of the Property or will otherwise make unavailable or deny the Property to anyone because of
   race, color, religion, sex 1 national origin, disability, 11ge, or familial status, and (b) Borrower recognizes as Illegal ·
   and hereby disclaims ano will not comply with or attempt to enforce any restrictive covenants on dwell Ing relating
  to race, color, religion,. sex, natronal origin, disability, age or familial status.          ·
·       18. Sale of Note; Change of Loan Servicer, The Note or II partial· interest In the Note (together with this
   Security Instrument) may be sold one or more times without prior notice to Borrower. A sale may result in a change
   !n the entity (known as the "Loan Servicer") that collects monthly payments due under the Note and this Security
   Instrument. There·also may be one or more changes of the Loan Servicer unrelated to II sate of the Note. If there is
  a change of the Loan Servicel\ Borrower will be given written notice of the change in accordance with paragraph 13
  above and applicable law. Tho not19e will state the name and address of the new Loan Servlce1· and !he address to
  whlch payments should be made.                           ·
        19, Uniform Federal Non-Judicial Foreclosure, !fa uniform federal non-judicial foreclosure law applicable
  to foreclosure of this security i11strnment is enacted, Lender shall have the option to foreclose this instrument In
  accordance with such federal procedure.           .
        21}, Hazardous Sub~tances. Borrower shall not cause or pennit the presence, use, disposal, storage, orretease
  of any hazardous substances on or in the Property. The preceding sentence shall not apply to the presence, use, or.
  storage on the Property of small quantities of hazardous substances that are generally recognized to be appropriate
  to normal residential uses and to mointenance,ofthe Property, Borrower shall not do, 11or allow anyone else to ~o,
  anything affecting the Property that Is In violation of any federal, state, or local envtrpnmental Jaw or regulation.
        Borrower shall promptly give Lender writ1e11 notice of any Investigation, claim, demand, lawsuit or other action
  by any governmental or 1'8gulatory agency or private party involving the Property and any hazardous substance or
  environmental Jaw or regulation of which Botrower has actual knowledge. If Borrower learns, or ls notified by any
 governmentl\l or regulatory authority, that any removal or other remediation of any hazardous substancu affecting.
 the Property is necessary, Borrower shall promptly take all necessary remedial actions in accordance with applicable
 environmental law and regulations, ·                 .                                             ,
        As used· In this paragraph "hll2ardous substances" are those substances defined as toxic or hazardous substances
  by environmental law and the following substances: gasoline, kerosene, othe1• flammable or toxic petroleum
  products, toxic pesticides and herbloldes, volatile solvents, materials containing asbestos or fonnaldehyde, and
 rndloactive materials. As used iri this paragraph, "environmental law" means federal laws and regulations and laws
 and re~ulations of the jurisdiction where the Property is located that relate to health, satety or environmental
 protect1011 ..
        21, Cross Collnteralizatlon, Default hereunder shall constitute default under a,iy other reql esfate security
 instrument held by Lender and executed or assumed by Bonower, and default under. any other such security
  instrument shnll constitute default hereunder,                                                  ·
       NON-UNIFORM COVENANTS. Borrower und Lender further covenant and agree as follows:
       :22, SHOULD DEFAULT occur. in the performance or discharge of any obligation in this instrument or
 secured by this instrument, or should the parties named as Borrower die or be declared incompetent, or should any
 one of tho parties named as Borrower be discharged in bankruptcy or declared an Jnsolvent, or make an assignment
 for the benefit of creditors, Lender, at its option, with or without notice may: (a} declare tile entire amount unpaid
 under the note and any indebtedness to Lendel' hereby secured im1hediately duo and payable, (b) for the account of
 Bo!'l'ower incur and pay rensonable expenses for repair or maintena.nce of and take possession of, operate or rent the
 property, {o) upon application by It and production of this Instrument, without other evidence and without notice of
 hearing or said· applioatlon, have a reoe1vor appointed for the property, with the usual powers of receiwrs in like
oases, (d) foreclose this instrument as provided her1Jin or by law, and (e) enforce any and all other rights and
remedies provided herein or by present or future lawll,                                                  .
      23, The proceeds of foreclosure sale shall be applied in the following order to the pay111enl of: (a) costs and
expenses incident to enforcing or complying with the provisions hereof, (b) any prior liens required by law or a
competent court to bo so paid, (c) the debt evidenced by the note and all indebtedness to Lender ser.ured hereby,
(d} inferior liens of record required by law or a competent cou11 to be so paid, (e) at Lender's option, any other
Indebtedness of Borrower owing to Lender, and (f) any balance to Borrower. At foreclosure or other sale of all or
any pa1t of the property, Lender and its agents may bid and !)Urchase as a stranger a11d may pay Lender's share of
the purchase price by crediting such amount on any debts of Borrower owing to Lender, in the order prescribed
above,
      ;24, Borrower agrees that Lendet wlll not be bound by a11y present or future State laws, (a) providing for
valuation, oppralsal, homestead or exemption of the property, (b) prohibiting maintenance or·an notion for a
deficiency judgment or lltnitlng the amount thereof or tho time within which such notion must be brought, (c)
prescribing any other limitations, or (d) limiting the conditions which Lender may by regulation impose, Including ·
the intel'est rate It may charge, 11s a conditloll of approving a transfor of the property to a new Bon·ower, Borrower
                                                                                                                 Pages of6


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expressly waives the benefit of any such State laws. Borrower hereby relinquishes, waives, and conveys all rights
Inchoate or consummate, of descent, dower and curtesy.
     ZS, Riders to this Security lnstrument. If one or more riders are executed 'by Borrower and recorded
together with this Security Instrument, the covenants and agreements of each rider shall be incorporated into and
shall amend and supplement the covenants and agreements of this Security Instrument as if the rider(s) were a part
of this Security Instrument. [Check applicable box]                                              ·
      D Condominium Rider                    0 Planned. Unit Development Rider           D Other(s) [specify]

      BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained In pages l through
6 of this Security Instrument and in any rider executed by Borrower and recorded with this Security Instrument

                                                                     "Ch.swti\~
                                                                            Pa D
                                                                    Dorothy D.
                                                                                 1\?o.iS'2.u
                                                                               ie Borrower
                                                                                                                          [SEAL)

                                                                       --------,==------'[SEAL]
                                                                                                     Borrower



STATE OF KA~N=S=A=S~-----.}s:                                                    ACKNOWLEDGM'ENT
COUNTY OF _NEOSHO



     On this 15th                        day of October               ,. ,2~0«->0,. ,_7_ _~,• before me, Dorothy: D.
~P..,.a.,..u_..l~1e"4-
                    .....a._.,s...:f .....
                                      no-gl.ue-p....e.....r..,_ao...,o...._._ _ _ ____,personally appeared._ _ _ _ _ _ _ _ _ _ __

-~~--~--------~and~--------------~~~
who acknowledged that _,.,,sh....,e.._____ executed the foregoing Instrument as _,b"""e._..r~___ vo1untary act
and deed.
                      A •·       BETH PARKER
                  -          Nola!'/ Public • Stato of Kanan
                  My Appt, 1:x'pl!'ec;
[SEAL]                                                                     ~                .
                                                                           Beth Fark~Noiarjiuiic'
My appointment expires 10-07..:.os




                                                                                                                      Page6 of~
                                   Case 5:18-cv-04060 Document 1-3 Filed 06/28/18 Page 1 of 1


            I   USDA-RHS                                                                                                                                   FORM APPROVED
                Form RO 3550-22                                                                                                                            0MB NO. 0575-0172
                (Rev, 8-89)

                                                                                                                                            ,/   Sectlon502
                     UNITED STATES DEPARTMENT OF AGRICULTURE                                                Type of ~oan Assumed
                               RURAL HOUSING SERVICE                                                                                             Section 504
                                                                                                                                            ,/   Program Transferee
                                                                                                 :           Type of Transferee
                                                                                                 !                                               NonProgram Transferee
                                     ASSUMPTION AGREEMENT                                                                                        New Rates and Terms
                                      SINGLE FAMILY HOUSING                                                  Type of Assumption
                                                                                                                                            ,/   Same Rates and Terms
                                                                                                        Sellers Case No:                                                 ---
                                                                                                        Transferee Case No:
                     This Agreement dated              May 1, 2013               is between the United States of America, acting through the Rural
                Housing Seivlce, Its successors and assigns (herein called t.he Government) and _Br_e_n_t_M_P_a-'--u--l__i_e_ _ _ _ _ _ _ _ _ _ _ _ _ __

                (herein called the Borrower or transferee), whose malling address is:         718 Lincoln, saint Paul, KS 66771


                   The Government ls the holder of one or more of the following debt Instruments executed, .=!:l:.::0.::.r.::.
                                                                                                                          0 .:cth;:,Y<-..::D:._::.P.::.au:::l::.:i:..:e'-------------
            - - - - - - - - - - - - - - - - - - - - - - - - - (the sellers), which Instrument ls secured by real property located In
            _N_e_os_h_o_·- - - - - - - - - - County, State of _K_a_n_s_a_s_ _ _ _ _ _ _ pursuant to the following security Instruments:
                Type of Debt           Date             Original           Interest      Type of Security       Date              Office Where          Bool<Nolume         Page
                Instrument             Executed         Principal          Rate          Instrument ·           Executed           Recorded             Document No.        No.
                Promissory                                                              Real Estate                               Register of
             Note.                     l0-15-200?           $91902.98        6.0000 Mortgage                   10-15-200?         Deeds                 395                  642




            In consideration of the assumption of the Indebtedness as herein provided and the Government's consent to this assumption and related conveyance
            o( the security property, If appllcable, ills agreed as follows:                                         ·                                       ·
            1. The Borrower will assume the Indebtedness and obligations of the above described debt and security Instruments on (check only one):
                   0 Same rates and terms: or .                    .
                   0 New rates and terms with an Interest rate of                                                      .percent (                         ) per                                ~.,.......
                annum, the principal sum of
                                                                                                                                                 -------- dollars                               ~
                ($ _ _ _ _ _ _ __                        ), with the first lns'tallment of principal and Interest o f $ - - - - - - - , - - - - - - - - due on                                 r......:;
                                                                                                                                                                                               I:::)
            --------------,and$                                                                 thereafter on the                                  of each month until                          -,-&,,
            the principal and Interest are fully paid, except that the final Installment of the entire indebtedness evidenced hereby, if not paid sooner, shall be due                          w
            and payable                ·                                                  (              ) years from the date of this Agreement. Borrower shall
            escrow taxes and Insurance In accordance with Agency regulations. By execution of this agreement borrower becomes personally obligated to repay
            the principal and Interest to the Government on the terms stated herein.                         ·                                                     ·
            2. Payments of principal and Interest shall be applied In accordance with Government's accounting procedures In effect on the date of receipt of the
            payments. If Borrower's payment has not been received by the end of__!§_ days after it becq~es due, Borrower will pay a late charge of             ·
            _____________                         4_.o_o_o_o % of the overdue payment of principal and Interest.

            3. The provision of the debt and security Instruments hereby assumed shall, except as modified herein, remain In full force and effect, and Borrower
            assumes the obligations of and agrees to comply with all covenants, agreements, and conditions In said Instruments, as modlfled here, as though
            Borrower had executed them as of the date thereof as principal obllgors. Borrower agrees to be personally liable to the Government for the repayment of
            the obligation assumed herein. Nothing contained herein shall be construed to ·release the seller from llablllty on the above described debt Instruments.
            4. ·Any provision of the debt or security Instruments which requires that the Borrower occupy the Government financed dwelling or refinance to another
            credit source does not apply to assumption by a non-program transferee.
            5. This.agreement Is subject to present regulations of the Government and to Its future regulations which are not Inconsistent with the·express provisions
            hereof:
            UNITED STATES OF AMERICA
            RURAL HOUSING SERVICE
            By:    Marilyn R Dean (°'V\ a ,p,S)J,,r
            Title:   Area Specialist
            Date     os-01-2013                                                                  (Borrower)
            Address: 202 w Miller Road
                         Iola, KS 66749                                                          (Cosigner)

                  According to the Paperwork Reduction Act of 1995, no persons llfe required to respond to a collection of information unless it displays a valid 0MB control
                  number. The valid 0MB control number for this infonnation collection is 0575-0172. The time required to complete this information collection is estimated
                  to average ~ minutes per response, including the time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed,
                  and completing and reviewing the collection of infonnation.


                                                                                                                                                               Exhibit C
·-----...........------·~·~-...~·-. -..-r----· .. ~........--·------,.•--r-..~r-,,-------- .-~ .--------,...----- ,.,.,,.._.. ,-..------·------.- ....... -~--·--...- -.....---·'   '   -.--r---·•          .
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                       'o-




                        Fonn RD 3550-12                                               United States Department of Agriculture                                               Form Approved
                        (Rev. 9-06)                                                            Rural Housing Service                                                   0MB No. 0575-0172

                                                                                                                                                                   Account.'#
                                                                                 SUBSIDY REPAYMENT AGREEIV,IENT
                       Only one agreement should be executed by tlie subject borrower for the subject property.· The agreement is completed at the
                       closing of the first Agency loan to the borrower regardless of whether or not they qualify for payment assistance at that time.

                       1. As required under section 521 of the Housing Act of 1949 (42 U.S.C. 1490a), subsidy received in accordance with a loan
                       under section 502 of the Housing Act of 1949 is repayable to the Government upon the disposition or nonoccupancy of the
                       security property. Deferred mortgage payments are included as subsidy under this agreement.

                       2. When I fail to occupy or.transfer title to my home, recapture is due. IfI refinance or otherwise pay in full without transfer
                       of title and continue to occupy the property, the amount ofrecapture will be calculated but; payment of recapture.can be
                       deferred, interest free, until the property is subsequently sold or vacated: If deferred, the Government mortgage can be
                       subordinated but will not be released nor the promissory note satisfied until the Government is paid in full. fa situations
                       where deferment of recapture is an option, recapture will be discounted 25% if paid in full at time of settlement.
                       3. Calculating Original Equity.
                       For Self-Help loans, the market value is the appraised value as determined at the time of loan approval/obligation, which is
                       subject to completion per plans and specifications. If the house is not ultimately furnished under the Self-Help program, an
                       amended agreement using the market value definition for all other transactions as outlined below must be completed.

                       For ·an other transactions, the market value is the lower of the:                               1


                                 Sales price, construction/rehabilitation cost, or total of these costs, whichever is applicable
                                 QR.
                                 Appraised value as determined at the time ofloan approval/obligation.

                       If the applicant owns the building site free and clear or if an existing non-Agency debt on the site without a dwelling will not
                       be refinanced with Agency funds, the market value will be the lower of the appraised value or the construction cost plus the
                       value of the site.

                       Market value of property located at:
                       718 Lincoln
                        Saint Pau:)., KS                    66771                                                  $ 88,500. 00


                       Less Pri:or I:iens                                                                          $                       Held by _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                   $ _ _ _ _ _ _ Held b y · · - - - - - - - - - - - - - -
                      Less Subordinate Affordable Housing Products                                                 $                       Held by.:..·-------------
                                                                                                                   $                       Held b y - - - - - - - - - - - - - -
                      Less Rural Development Single Family Housing Loans                                           $   91,100.00
                      Equals Original Equity (If negative number use 11 011)                                       $   0, 00

                      Percent of Original Equity                                                                   $_0_._o_o____ %
                      (Detennined by dividing original equity by the market value)

                      4. If all loans are not subject to recapture, or if all loans subject to recapture are not being paid, the amount to be recaptured is
                      computed according to the following formula. Divide the balance of loans subject to recapture that are being paid by the balance
                      of all open loans. Multiply the result by 100 to determine the percent of the outstanding balance of open loans being paid.




                        AccordiJlg_ to the Paperwork Reduction Act of1995 no persons are required to resP.ond to a collection of Information unless It displays a
                        valid 0MB control number. The valid 0MB control number for this lnJonnat/011 collection is 0575-0172. Tlie time required lo complete this
                        i11/011nat/011 collection is estimated to average 5 minutes per response, Including the time /qr reviewin_g instructions, searching existing data
                        sources, gathering and maintaining the data needed, and compretlng and reviewing the collection ofuiformation.




                                                                                                                                                                             Exhibit D



--··-·~-·---·----- .---·"- . ---·-··-·-··· ...--, _____ __________
                                                    ,                ,._   - --··-·---"~··· ----- .... --··-·----·-···- . -   ---·····-   ---~---·-- ---·-·--··········------·----·--··--· .---·-·····-····· ----··--- -----
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                                   5.                                                                                      Average interest rate paid
                                                       months
                                                       loan                                                      1.1            2.1            3.1             4.1            5.1              6.1
                                                       outstanding                                1%             2%             3%                                                             7%                >7%
                                                                                                                                               4%              5%             6%
                                                        0    - 59                                .so             .so            .so            .so             .44            .32              .22               .11
                                                       60    - 119                               .so             .50             .50           .49             .42            .31              .21                .ii
                                                      120    - 179                               .50             .50            .50            .48             .40            .30              .20                .IO
                                                      180    • 239                               .so             .so            .49            .42             .36            .26              .18                .09
                                                      240    - 299                               .so             .so           ,,46            .38             .33            .24              .17                .09
                                                      300    • 359                               .so             .45            .40            .34             .29            .21              .14                .09
                                                      360    & up                                .47             .40            .36            .31            .. 26           .19              .13                .09

                                   6. ,Calculating Recapture
                                            . Current Market valu!l
                                         LESS
                                                  Original an,.ount of prior liens and subordinate affordable housing products,
                                                  RHS balance,
                                                  Reasonable closing costs,
                                                  Principal reduction at note rate,
                                                  Original equ'ity (see paragraph 3), and
                                                  Capital improvements (see 'J CFR part 3550).
                                        EQUALS
                                            Appreciation value. (If this is a positive value, continue.)
                                        TIMES
                                            Percentage in paragraph 4 (if applicable),
                                            Percentage in paragraph 5, and
                                            Return on borrower's original equity (100% - percentage in paragraph 3).
                                        EQUALS
                                            Value appreciation subject to recapture. Recapture due equals the lesser of this figure or
                                            the amount of subsidy received.

                                  Borrower agrees to pay recapture in accordance with this agreement.

                                                                                                                                                                         Date
                                                                                                                                                                                    10-15-2007
                                                                                                                                                                         Date
                                                                                                                                                                                    10-15-2007

                                        I, Brent M Paulie, agree to the terms of this agreement.

                                 t_·~P~
                                 · Brent M Paulie ·
                                                                                                                                May 1, 2013'




--···-. ··--·-··- . -~ ..-... ---······-·---····· _____ ,.___________,, -·---·-· ....... - .--- -~.~---···-·--··----·--·-·---·-----·~-- ·--···- -··-· •-. ·-- ... -----·-·-··--·-· .... .._   ____ ..,, _,..   __ ,.,_.,.~- -~---···-···--- ··-·-·--·-·------.-. ··-
